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     TOPETE AND HEATHER WILBUR
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  10                          UNITED STATES DISTRICT COURT
  11          CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
  12
  13 ARMANDO QUEZADA,                                   CASE NO. CV15-07382 ODW (PJWx)
     CATALINA DE QUEZADA,                               Hon. Otis D. Wright II
  14 R. V., M. Q., and A. Q. C.,                        Mag. Patrick J. Walsh

  15                        Plaintiffs,                 Complaint filed: 9/21/15
              vs.
  16                                                    STIPULATION TO AMEND
       CITY OF LOS ANGELES, LAPD                        COMPLAINT AND EXTEND TIME
  17   CHIEF CHARLES BECK, individually                 TO FILE RESPONSIVE PLEADING
       and in his official capacity, LAPD
  18   DETECTIVE JUAN TOPETE, #27454,
       individually and in his official capacity,
  19   LAPD OFFICER GABRIEL
       BUCKNELL, #35961, individually and
  20   in his official capacity, LAPD
       OFFICER BRISCOE, #39133,
  21   individually and in his official capacity,
       LAPD OFFICER LUKE BENNETT,
  22   #38384, individually and in his official
       capacity, LAPD OFFICER MIRANDA,
  23   #39874, individually and in his official
       capacity, LAPD DETECTIVE
  24   WILBUR, #33756, individually and in
       his official capacity, LAPD
  25   DETECTIVE MUNOZ, #27719,
       individually and in his official capacity,
  26   and DOES 1-10,
  27                        Defendants.
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 1 TO THE HONORABLE COURT, TO ALL PARTIES AND TO THEIR
 2 ATTORNEYS OF RECORD:
 3        WHEREAS Plaintiffs filed their complaint on September 21,2015, and
 4 served Defendants CITY OF LOS ANGELES with the summons and complaint on

 5 December 8, 2015, CHARLES BECK with the summons and complaint on
 6 December 16,2015 and LYNN MIRANDA, LUKE BENNETT, JUAN TOPETE.
 7 ALAN BUCKNELL, ALFONSO MUNOZ, and HEATHER WILBUR with the
 8 summons and complaint on December 11,2015, and the parties, having met and
 9 conferred, believe they can resolve many disputes regarding the content of the
10 pleadings through voluntary amendment.
11        IT IS THEREFORE STIPULATED that Plaintiffs will file an amended
12 complaint no later than January 28, 2016, and the date on which Defendant CITY
13 OF LOS ANGELES, CHARLES BECK, LYNN MIRANDA, LUKE BENNETT,
14 JUAN TOPETE, ALAN BUCKNELL, ALFONSO MUNOZ, and HEATHER
15 WILB OR, will be required to file a responsive pleading is extended to 21 days after
16 the date of the amended pleading.
17 DATED:       December j)." 9 ,2015
                             MICHAEL N. FEUER, City Attorney
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19                           By          lSI ~ Ren&> ~ e5Ua~
20                           RENA M. SHAHANDEH, Deputy City Attorney
                             Attorneys for Defendant CITY OF LOS ANGELES,
21
                             CHALRES BECK, LYNN MIRANDA, LUKE
22                           BENNETT, JUAN TOPETE, ALAN BUCKNELL,
                             ALFONSO MUNOZ, and HEATHER WILBUR
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24 DATED:       December    2~ , 2015
                                           MOON & DORSETT, PC
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26                                 By   ----..;;,.B-"
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                                            DANA M. DORSETT, ESQ.
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                                            Attorneys for Plaintiffs
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